  PROB 19
  Rev. 8/2000, NCMD .
                                       united states District court
                                                  èor the
                                     Middie Distriçt oe North carolina
            U#A v.BRIAN DAVID HILL                             DoeketNo.1:13*R435-1

  To :.l THE UN ITED STATES MARSHAL FoR THE MIDDLE DISTR ICT oF NORTH
            CAROLINA oR ANY OTHER AU:HORIZED oFFIcER:

               WARRANT FOR ARREST OF SUPERVISED RELEASE VIOLATOR

 . '         you are herèby coxxanéed to arrest the within-named violator and bring him or
             her, forthwith, befor4'the United states '
                                                      District court to answer eharqes
             that he or she violated the conditions of his or her probation iyposed by the
             court                                '
   NAME'OF VIOLATOR                                                       SEX.      RACE          AG1
   n*T*H DAVID HILL                                                       M         W             28
   ADDRESS (STREET, CIe!: STATE)

   SPbERVISED REbLhsE IMFOSED ;X:                                         DATE IMPOSFD:.
   MIDDLE DCSTRICT OF NORTH CAROLINA                                      11/1Q/20l4
   TO BB BROPGHTkBEFORE:                          .            .                          '
   MIDDLE DIs RICT oF NORTH CAROLINA, GREENSBORO? NORTH CAROLINA


   CLXRE:            ,                     BY (DEPOTY CLERK)            . DATE
   JOHN S. BRUBAKER                         ks/loy Daniel                 11/14/2018


                                                      RETURN
   Warrant received and                    DATZ RECEIVED                  DATE EXàCDTEP
   executed.             .                                                                        .
   EZECUTING AGENCY INKMM AND ADDRESS)

                             :                             '       .                          .



   NAME                                   '(BY)                           DATH
     '                           J                '                                 .




                                                                              REC EIV ED
                                                                                    /

                                                                                 yûk 111218
                                                                          U.S.MarshalsSerzice. M/NC



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11/03
                                 UNITED STATES DISTRICT COURT
                                               forthe.
                                               '
                                                          .

                                  Middle DistrlctofNorth Carolina                .
                                                            .                        '
                                   .

               Petltion forW arrantorSummonsforOffen#erUnderSupewisiön
 Nameoföffender: BRIAN DAVID HILk                    CaséNumben 1:13CR435-1
 NameofSentencingJudicialOffi
                            cer: TieHonorableWilliam L.OsteenkJr.
 DateofOriginalSentence:               November10,2014
 OriginalOffense: Possessi
                         onofChildPornographyinviolationof18U.:.G j22'
                                                                     52(#(a)(5)(B)and
                       (b)(2).                     '            '
 Ori
   ginalSentence: Custpdyofthe BureauofPrisonsfor10 monthsand 20 days'butnotIessthantime
                       served,followedb910yèarssupewisedrelease.
                       Apri
                          l29'2015:Modi
                                      ficationsuspending mandato? drug testingwasfiled.
                       Juné30.2015:Supervisedrel
                                               eapeviolatiènhearing before theHonorableThomasD.
                       schroeder.Supervised rel
                                              easewascontinuedwi   ththeaddiiénalspecialconditions
                       ofsix (6)months home incarceration and participation in a Cognitive Behavloral
                       Tllerapyprogram.                                  '               '
                       September4,2015:ReportofOp nderUnderSupervisionwasfiled.

               on: Supervised Release
 TypeofSupervlsi                                   Date SupeNisionCommenced:November13,2014
                                                   Date SupewisionFxpires:November12,2024

 AssistantU.S'
             .Attomey:Anand PrakashRamaswamy                    DefenseAttorney:JohnSbottCoalter
                                       PETITIONING THEèouRr
 IN       Toissueawarr@nt.Forcompelingreasons,thlspeti
                                                     tionandWarrantshallremainsealeduntil
          theWarrantisexecuted.TheClerkshallprovldeaco/yofthepeti
                                                                tionandWarrantto
      .   the U.S.Attorney'sOfficeandth4 UnitedStatesMarshalOfflcé.
 I1 . Tot
        ssueasummons
 Theprobati
          onofficerbelievesthatMcHillhàsviolatedthefoll
                                                      owingconditionts)ofsupewision:
 Violation1 -The defendaùtshallnotcommitanotherfederal,ptate orlocalcrlm v.
 OnSeptémber21,2018,Mr.HillFasarrestedbytheMartinsvillePoli
                                                          ceDejartmentInMadinsvill
                                                                                 e,VAfor
 Misdemean:rIndecentExqosure.TheoffensedatqwasSeptember21,2018.Mr.Hillremainswithout
 bond atthe Martihsvllle Clty Jailas ofthe date ofthls report Mr.Hill'
                                                                     s nextscheduled courtdate i:
 Decem ber21,2018.                       .           .                           .
Accordingtè'
           tl
            :e police report onthe nightofSeptember21 2018,a repodwas receivedthata nude male
hadbeepobsewedrunningenapublicqarktra'ilwithinthecl  :tyIimi
                                                           tq. Officersrespondedand madecontact
wijh the male,Iateridenti
                        sed as Mr.HIII.Mr.Hillran away froM the.omcers aqd was shortly thereafter
detained nyaracreek.Mr.Hî  I1advi
                                sedtheofficersthataMblackmaninahoodienmadeMf.Hill




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Case 7:18-mj-00149-RSB
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  RE:Brian David Hill                                                                           2
ugetnaked and take pictures ofhimsel
                                   tDMr.HillWas in possession ofa c'
                                                                   amera which he voluntaril
                                                                                           y
allowedtheoffi
             cerstoexamine.'Thecamera'
                                     contiinedseveralnude phptograqhsofMr.HillIndi
                                                                                 fferent
Iocationsaroundthe citypfMartinsville.FollowinganexaminationataIocplhospltal.Mr.Hillwasmedically '
andysychol
         ogi
           callycleared.Mr.Hillw;ssubsequentlyarrestedforIndecentEyposure,inviolationof
Virginl
      aCriminalCedej18.2-37,aClass1Mi
                                    sdemeanor.




  U.S.ProbationOffi
                  cerRecommendation:

  IN        Theterm ofsupewisionshouldbe
            IN     revoked.
            I1 extendedfor years,foratotalterm of years.
  (1
  '
            Theconditlonsofsupelvisi
                                   onshouldbemodi
                                                fi
                                                 edasfollows;g


                                    Ideclareunderpenaltyofperjurythattheforgoingistrueandcorrect.
                                               Executedon    .Novem ber6,2018
                                                              -




                                                              Kevin M.Alligood
                                                              U..S.ProbationOfficer peci
                                                                                       ali
                                                                                         st


  Approved by:
                                                                  November12,:018
       dward R.Cameron ,                                          Date
      SupervisoryU,S.ProbationOfficer




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                        IN THE UNITED STATES DISTRICT COURT
               FOR THE MIPDLE DISTRICT OF NORTH CAROLINA



  UNITED STATES OF AMER ICA

       V.                                        l:l3CR435-l

  BRIXN DAVID.HILS
                ORDEK ON PXTITION FOR WA==hHY OR STR*WOWS
                          FOR OFVENDER UNDZR SUPERVISION

       This matter is before the Cöurt upon request of the United

  States Probation Officer. (Doc. 157.) The Court has reviewed the
                .   .            r

  petiti6n and finds the following:

             No Action.

        (X) The Issuance of a Warrant. For compelling'reasonà, this
            petition and Wayrant shall remain sealed until the
            WarranE is executed. The Clerk shall provide a copy of
             the petition and Warrant to the U.$. Probation Officez
             the U.S. Attorney's Qffice, and the United States
             Marshal Of'fice .

             :he Issuance of a Summons. Upon issuance of a summons,
             the Petition shall be unsealed.
        ( ) Other:
        IT Is sd ORDEFED.


                                               /s/   Thomas D. schroeder
                                           United States District Judge


  November 13, 2018




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